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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION

IRA D. SOCOL,
          Plaintiff

vs.                                                Civil Action No. 3:18CV00090

                                                         ORDER

ALBEMARLE COUNTY SCHOOL BOARD, et al.,
       Defendants


      This matter is before the Court on joint motion for continuance of the jury

trial. Finding good cause, it is now

                                     ORDERED

that the trial of this case shall be and hereby is continued from July 28-31, 2020 to

February 9-12, 2021.

      With the continuance, the parties have agreed to the following new deadlines:

      Close of Discovery:                November 16, 2020
      Filing of Dispositive Motions:     November 30, 2020
      Response to Motions:               December 14, 2020
      Reply to Response:                 December 21, 2020
      Hearing on Motions:                Early- Mid January, 2021.

      The Clerk is directed to send certified copies of this Order to all parties and

counsel of record.

      ENTER:         This 8th day of June, 2020.

                                                   s/ Glen E. Conrad
                                                   Senior United States District Judge
